                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE

 LEWIS COSBY, KENNETH MARTIN, as                   )
 beneficiary of the Kenneth Ray Martin Roth IRA,   )
 and MARTIN WEAKLEY on behalf of                   )
                                                   )
 themselves and all others similarly situated,     )
                                                   )
                             Plaintiffs,           )
                                                   )
               v.                                  ) No.: 3:16-cv-00121-TAV-DCP
                                                   )
 KPMG, LLP                                         )
                                                   )
                             Defendant.            )
                                                   )
                                                   )
                                                   )


    PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO CERTIFY THE CLASSES,
      APPOINT CLASS REPRESENTATIVES, AND APPOINT CLASS COUNSEL




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I.     INTRODUCTION

       Plaintiffs have overwhelmingly satisfied the requirements of Rule 23(a) and 23(b)(3) of

the Federal Rules of Civil Procedure, demonstrating that both the Section 10(b) Class and the

Section 11 Class (together, the “Classes”) are numerous, that the Proposed Representatives are

adequate and typical of the members of the Classes, that the claims asserted are common to all

members of the Classes, that common issues predominate, and that damages for both Classes can

be calculated on a classwide basis.

       KPMG’s kitchen-sink opposition runs roughshod over the boundaries of clearly defined

precedent to offer a number of well-worn and routinely rejected arguments, including arguments

squarely rejected by this Court in Gaynor v. Miller, No. 15-cv-545, 2018 WL 3751606 (E.D. Tenn.

Aug. 6, 2018) (the “Gaynor R&R”). Indeed, the bulk of KPMG’s arguments are plainly

irreconcilable with Magistrate Judge Poplin’s detailed and well-reasoned report and

recommendation that a class of Miller Energy investors be certified, see id., as well as decades of

precedent in the Sixth Circuit and throughout the Country.

       That common questions of law and fact predominate stands unrefuted. More specifically,

KPMG has not rebutted the finding of market efficiency established by Plaintiffs’ expert, Mr. Chad

Coffman, CFA, whose methodology has been found credible by dozens of courts, including by

courts in this Circuit as recently as 2017. See Kasper v. AAC Holdings, Inc., No. 15-cv-923-JPM-

JSF, 2017 WL 3008510 (M.D. Tenn. July 14, 2017), leave to appeal denied, No. 17-0509, 2017

WL 4801185 (6th Cir. Oct. 24, 2017) (holding that plaintiffs were entitled to the presumption of

reliance based on Coffman’s market-efficiency report and certifying a class of investors). While

KPMG argues – wrongly – in its separate Motion to Exclude that there are certain methodological

issues with Coffman’s expert report, their own purported expert, Dr. Mukarram Attari, concedes


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 that the market for Miller Energy Common Stock was efficient, meeting the factors elucidated in

 Cammer v. Bloom, 711 F. Supp. 1264 (D.N.J. 1989) and Krogman v. Sterritt, 202 F.R.D. 467 (N.D.

 Tex. 2001). And, although Attari claims that Miller Energy Preferred Stock does not meet certain

 of the Cammer and Krogman factors, he is wrong. As in the only other securities fraud class action

 where he submitted a purported expert report—which the Court rejected—Attari’s opinion is based

 on incorrect assumptions, misapplies well-established standards, and is contrary to longstanding

 precedent.

        Forced to concede that the Section 10(b) Class is entitled to the presumption of reliance,

 the thrust of KPMG’s remaining argument is that individual investors should somehow have

 known of KPMG’s fraud during the Class Period. This is strikingly incongruous with KPMG’s

 argument at the motion-to-dismiss stage that there were no red flags that should have alerted it—

 an experienced public accounting firm tasked with confirming that Miller Energy’s financial

 statements conformed with Generally Accepted Accounting Principles (“GAAP”)—to Miller

 Energy’s misconduct, and particularly absurd given that KPMG continued to lend its imprimatur

 to Miller Energy’s financial statements for years, causing investors to lose millions. Indeed, this

 Court has twice explicitly rejected this same argument – at the motion to dismiss stage in this case

 and in the Gaynor Action.

        KPMG is also notably silent about the SEC’s August 2017 Order confirming precisely

 what Plaintiffs allege: that KPMG’s audits of Miller Energy were so deficient that they violated

 the federal securities laws and numerous professional and ethical standards besides at every single

 step of their audits of Miller Energy. See Second Am. Class Action Compl. (“Complaint”) at ¶¶

 233-34, ECF No. 59. In a detailed and virtually unprecedented order against a Big 4 accounting

 firm, the SEC ordered the disgorgement of everything KPMG earned from working for Miller,



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 totaling more than five million dollars, levied an additional million-dollar penalty against KPMG,

 and required KPMG’s senior executives to regularly report to the SEC on its efforts to prevent

 such a debacle from happening again—a testament to the gravity of KPMG’s misconduct. Id.

        KPMG’s remaining arguments—that its false and misleading audit opinions did not

 artificially inflate the price of Miller Energy securities, that damages for the Section 10(b) Class

 and the Section 11 Class cannot be calculated on a classwide basis, that the Section 11 Class is not

 sufficiently numerous, and that Plaintiffs must demonstrate traceability at the class certification

 stage —are based entirely on a misapplication of the facts and the law (including this Court’s

 decision in the Gaynor Action), and thus can easily be rejected.

        This case epitomizes the “well-recognized” rule that “class actions are a particularly

 appropriate means for resolving securities fraud actions.” Ross v. Abercrombie & Fitch Co., 257

 F.R.D. 435, 455 (S.D. Ohio 2009). The overwhelming predominance of issues, including falsity,

 materiality, causation, reliance and damages, are amenable to treatment on a classwide basis and

 will be proved or disproved through common evidence. See Amchem Prods. v. Windsor, 521 U.S.

 591, 625 (1997) (“[p]redominance is a test readily met in. . . securities fraud [cases]”).

 Accordingly, Plaintiffs respectfully submit that their Motion should be granted. See Pls.’ Corrected

 Mot. to Certify the Classes, Appoint Class Representatives, and Appoint Class Counsel

 (“Motion”), ECF No. 108-1.1




 1
   Unless otherwise indicated, quotation marks and citations are omitted, and alterations are
 adopted. Capitalized terms are the same as defined in the Motion.

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 II.      ARGUMENT

          A.     The Section 10(b) Class Should Be Certified

          KPMG concedes numerosity, commonality, adequacy and superiority. Grasping at straws,

 KPMG challenges predominance and typicality; these arguments fail for the reasons set forth

 below.

                 1.     Common Issues Predominate

                        a.     The Market For Miller Energy Securities Was Efficient

          Plaintiffs have demonstrated that the market for Miller Energy Securities—both the

 Common Stock and the Series C and Series D Preferred Stock, all of which were listed on the

 NYSE—was efficient throughout the Class Period. As a result, the Section 10(b) Class is entitled

 to the Basic presumption of reliance. Plaintiffs’ expert, Coffman, empirically demonstrates under

 the same methodology that courts have approved in countless cases, that the Miller Energy

 Securities meet the factors set forth in Cammer and Krogman.2 While KPMG weakly—and

 wrongly—asserts that the methodology utilized by Coffman has certain deficiencies, KPMG and

 its purported expert, Attari, concede that Miller Energy Common Stock traded in an efficient

 market and that it met virtually all of the Cammer and Krogman factors. See, e.g., Attari Dep.

 (“Attari Deposition”)3 24:4-8 (average weekly trading volume); 25:19-26:7 (analyst coverage);



 2
   Defendants do not cite, and Plaintiffs are unaware of, any case holding that the common stock of
 a NYSE-listed company is inefficient.
 3
   This brief refers to a number of expert materials, including the Corrected Expert Report of Chad
 Coffman, CFA (“Coffman Opening Report”), ECF No. 121; the Expert Report of Dr. Mukarram
 Attari (“Attari Report”), ECF No. 130; the Expert Rebuttal Report of Chad Coffman, CFA
 (“Coffman Rebuttal Report”), attached to the accompanying Declaration of Gordon Ball as Exhibit
 A; and the Attari Deposition Transcript, attached to the accompanying Declaration of Gordon Ball
 as Exhibit B. The Attari Deposition Transcript (Exhibit B) itself includes exhibits, which are
 identified by number as “Attari Deposition Exhibits.”


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 60:19-23 (market makers); 66:1-14 and 71:6-10 (Form S-3); 74:17-21 (market capitalization);

 78:8-20 (bid-ask spread); 82:5-12 (institutional ownership); 96:6-10 (options trading).4

        KPMG also does not dispute that Miller Energy Preferred Securities met the majority of

 the Cammer and Krogman factors during the Class Period. For example, Attari concedes that: (1)

 the Preferred Securities had an average weekly trading volume that exceeded the standard set forth

 in Cammer Factor 1 throughout the Class Period; (2) Miller Energy was eligible to file a Form S-

 35 and, in fact, issued securities pursuant to a Form S-3, for most of the Class Period except for the

 time periods after it filed its’ Form 10-K late, as set forth in Cammer Factor 4; and (3) the Preferred

 Securities had bid-ask spreads that met the thresholds set forth in Krogman until the last 8 months

 of the Class Period. See Attari Dep. 24:9-14; 66:1-71:10; 78:21-79:5. Attari also concedes that the

 market for the Preferred Securities was “liquid” throughout the Class Period, and that purchases

 and sales of the Preferred Securities were “quickly” executed, further demonstrating that the

 market for the Preferred Securities was efficient. See Attari Dep. 64:24-65:19; Attari Report at ¶

 68. Critically, Attari has “no opinion”, and thereby concedes, that the Preferred Securities were

 impounding relevant information quickly throughout the Class Period, the sine qua non of an




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   As will be set forth in Plaintiffs’ Opposition to KPMG’s Motion to Exclude the Reports and
 Testimony of Chad Coffman, Defendant’s purported expert, Attari, has virtually no experience
 serving as an expert in securities fraud class actions. He has only filed one report in such a case,
 and the report’s findings were rejected by the court. See Attari Dep. 14:9-16:4; Attari Dep. Ex. 75.
 Attari’s record stands in stark contrast to that of Coffman, whose market-efficiency reports have
 been credited in certifying 25 securities fraud class actions.
 5
   There is no reason to believe that Miller Energy becoming ineligible to utilize Form S-3 due to
 late paperwork filing somehow induces market inefficiency, especially while all other factors
 indicate efficiency. Coffman Rebuttal Report ¶ 32. Attari’s opinion that Miller Energy was
 ineligible to file a Form S-3 when its market capitalization fell below $75 million is wrong; there
 is no requirement that a company have market capitalization of $75 million to be eligible to file a
 Form S-3. See Attari Dep. 14:9-16:4; Attari Dep. Exs. 72 and 73; Coffman Rebuttal Report ¶ 7e.

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 efficient market. See Attari Dep. 80:17-81:7. These facts alone are more than enough evidence that

 the market for the Preferred Securities was efficient through the Class Period.

        Even KPMG’s carefully circumscribed objections to Coffman’s findings as to Miller

 Energy Preferred Stock are contrary to longstanding precedent and otherwise not credible. For

 example, Attari claims that the market for the Preferred Securities does not meet the standard under

 Cammer Factor 2, which pertains to public coverage of the securities at issue. Notably, however,

 Attari concedes that numerous analysts discussed the Preferred Securities throughout the Class

 Period and analyzed information relevant to the Preferred Securities. See Attari Dep. 26:8-60:8;

 Attari Dep. Exs. 60-71.6 Instead, Attari remarkably claims that it is not enough for analysts to

 cover information relevant to the security at issue or even to discuss the security at issue by name,

 but that the analysts must provide a price target and a buy, sell, or hold recommendation for the

 security to fulfill this factor. There is no such requirement. See Coffman Rebuttal Report ¶

 29. Indeed, no court has ever imposed such a requirement, nor could Attari point to any academic

 literature or case law supporting his position. See Attari Dep. 34:22-35:3. Accordingly, Cammer

 Factor 2 also demonstrates that the market for the Preferred Securities was efficient.

        Similarly, Attari concedes that there is no need for market makers for securities, like the

 Preferred Securities, that trade on the NYSE instead of on the Over the Counter Bulletin Board,

 which was the exchange at issue in Cammer (Cammer Factor 3). See Attari Dep. 61:3-64:11;

 Coffman Opening Report ¶¶ 41-42. Attari also has “no beliefs” regarding the number of



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   In addition, significant additional information was available about the Preferred Stock via press
 releases, earnings call transcripts, SEC filings on Edgar, news articles, the Internet, 24-hour cable
 news networks, email, RSS feeds, and other media, all of which are relevant to satisfaction of
 Cammer Factor 2. See Coffman Opening Report ¶¶ 36-38. Attari concedes that this information
 was also available to Preferred Stock investors throughout the Class Period. See Attari Dep. 59:10-
 60:10.

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 institutions that held the Preferred Securities since that data is unavailable, yet admits that

 numerous institutions held the Common Stock. See Attari Dep. 61:3-64:11. He similarly concedes

 that he “didn’t know” of any structural reasons preventing options from being listed on the

 Preferred Securities. See id. 82:5-84:1. Thus, each of these factors also support that the market for

 the Preferred Securities was efficient.

           With regard to the market capitalization factor in Krogman, Attari baldly asserts that one

 must individually analyze the market capitalization of each security at issue. See Attari Report.

 ¶ 180. However, that makes no economic sense given that the purpose of this factor, as even

 Attari’s report sets out, is whether the company itself, not the given security, is sufficiently well

 capitalized. See id. ¶ 178 (noting that the factor goes to whether stock purchasers are incentivized

 to invest in “more highly capitalized corporations”); Attari Dep. 76:4-77:23; see also Coffman

 Rebuttal Report ¶ 33.7

           Attari’s opinion that the autocorrelation test conducted by Coffman is “invalid” is also

 belied not only by hundreds of courts that have accepted the same test, but by Attari’s own opinion

 in a separate case, in which both he and the Plaintiffs’ expert conducted the same autocorrelation

 test that Coffman conducted here, which demonstrates that there was no autocorrelation in the

 Preferred Securities. See Coffman Rebuttal Report ¶ 25; Attari Dep. 84:2-91:4; Attari Dep. Exs.

 74-75.8


 7
   Further, the low market capitalization of the Preferred Securities at the very end of the Class
 Period was due to the sharp decline in the Preferred Stock share price, not the result of a decrease
 in efficiency. Coffman Rebuttal Report ¶ 33.
 8
   In that case, the plaintiffs’ expert and Attari used the same autocorrelation test but different
 robustness tests. The court did not credit Attari’s robustness test. See Attari Dep. 84:2-91:4; Attari
 Dep. Exs. 74-75. Notably, the robustness tests conducted by both the plaintiffs’ expert and Attari
 in that case were weaker than the one conducted by Coffman here. The plaintiffs’ expert and
 Attari’s robustness tests used a one-year period; here, Coffman performed a robustness test with a


                                                   7

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        Finally, although a “plaintiff seeking to demonstrate market efficiency need not always

 present direct evidence of price impact through event studies,”9 Plaintiffs have done so here

 (Cammer Factor 5). Specifically, Coffman empirically demonstrates that, once the Preferred

 Securities first traded substantially below par value, they reacted in a statistically significant way

 to firm-specific events that updated the market regarding the ability of the Company to continue

 paying dividends or stay listed on the NYSE. See Coffman Opening Report ¶¶ 51-52; Coffman

 Rebuttal Report ¶¶ 65-66.10 Attari does not dispute this; rather, he argues that Coffman should




 quarterly analysis. Compare Attari Dep. Ex. 75 at pp. 27-28 with Attari Dep. Ex. 42 at 17c and
 17d.
 9
   Waggoner v. Barclays PLC, 875 F.3d 79, 97 (2d Cir. 2017), cert. denied, 138 S. Ct. 1702 (2018).
 See also In re Petrobras Sec., 862 F.3d 250, 278 (2d Cir. 2017) (explaining that “indirect evidence
 of market efficiency” under the other four Cammer factors would “add little to the Basic analysis
 if courts only ever considered them after finding a strong showing based on direct evidence alone”,
 and that indirect evidence regarding the efficiency of a market for a company’s stock under the
 first four Cammer factors “is particularly valuable in situations where direct evidence does not
 entirely resolve the question” of market efficiency); Local 703, I.B. of T. Grocery & Food Emps.
 Welfare Fund v. Regions Fin. Corp., 762 F.3d 1248, 1256 (11th Cir. 2014) (“Neither are we
 persuaded by [the] argument that a finding of market efficiency always requires proof that the
 alleged misrepresentations had an immediate effect on the stock price. . . . [The defendant] does
 not point us to any court that has adopted the unwavering evidentiary requirement it urges upon
 us. Nor could it. Even the Cammer court itself did not establish such a strict evidentiary burden
 at the class certification stage.”); Unger v. Amedisys Inc., 401 F.3d 316, 325 (5th Cir. 2005)
 (explaining that the district court improperly used three of the Cammer factors, including Cammer
 5,“as a checklist rather than an analytical tool”); Gariety v. Grant Thornton, LLP, 368 F.3d 356,
 368 (4th Cir. 2004) (explaining that courts “should consider factors such as” the Cammer factors).
 10
    The Cammer and Krogman factors are regularly modified by courts when analyzing market
 efficiency for non-equity securities, like the Preferred Securities here. See, e.g., Teamsters Local
 445 Freight Div. Pension Fund v. Bombardier Inc., 546 F.3d 196, 204 n. 11 (2d Cir. 2008)
 (applying the Cammer factors in modified form “to bond markets with a recognition of the
 differences between the manner in which debt bonds and equity securities trade.”); In re Enron
 Corp. Sec., 529 F. Supp. 2d 644, 747-49 (S.D. Tex. 2006) (applying the Cammer factors in
 modified form to debt securities); In re Countrywide Fin. Corp. Sec. Litig., 273 F.R.D. 586, 615
 (C.D. Cal. 2009) (modifying the Cammer factors to account for the unique attributes of stocks and
 bonds); In re HealthSouth Corp. Sec. Litig., 261 F.R.D. 616, 635-36 (N.D. Ala. 2009) (same).


                                                   8

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 have analyzed how the Preferred Securities moved in response to earning releases instead. This is

 wrong.

          There is no reason to expect preferred securities to move in response to earnings releases

 absent concern about the Company’s liquidity, solvency, ability to pay dividends, or ability to

 continue trading on an exchange. See id.; Attari Dep. 132:10-137:1. Furthermore, there are a

 multitude of reasons why the Preferred Securities would not be expected to react to earnings

 releases generally, including that they did not provide any new or material information. See

 Coffman Rebuttal Report at 8 n.16; Attari Dep. 130:8-132:3. Indeed, contrary to KPMG’s

 assertion, academic research demonstrates that there is no expectation in the first instance that

 equity securities react to earnings releases all or even half of the time. See Attari Dep. 127:18-

 130:7; Attar Dep. Ex. 77.

          Since Plaintiffs have demonstrated overwhelming evidence of market efficiency for each

 of the Miller Energy Securities, the 10(b) Class is entitled to the Basic presumption of reliance.11

                         b.     The Section 10(b) Class is Entitled to the Affiliated Ute
                                Presumption of Reliance

          Plaintiffs also establish that the Class is entitled to a presumption of reliance under

 Affiliated Ute. See Mot. at 19-21. KPMG contends that the Affliated Ute presumption is unavailable

 because “Plaintiffs’ claims are not based on omissions, but rather on alleged affirmative

 misstatements[.]” Opp’n of KPMG LLP to Pls.’ Mot. to Certify the Classes, Appoint Class

 Representatives, and Appoint Class Counsel (“Opp’n”), at 15. The Court should not credit this

 opportunistic and highly conclusory attempt to recast Plaintiffs’ allegations. The heart of this case


 11
   As will be set forth in more detail in Plaintiffs’ Opposition to KPMG’s Motion to Exclude,
 Attari’s attacks on Coffman’s methodology are wrong. Coffman’s methodology was rigorous, and
 Attari’s criticisms of his study are unscientific, unsound, and regardless, have no impact on
 Coffman’s conclusions. See generally Coffman Rebuttal Report.

                                                  9

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 is KPMG’s failure to disclose the truth about the value of the Alaska Assets. Moreover, “the theory

 behind the Affiliated Ute presumption . . . is not undermined simply because a defendant makes

 misstatements at the same time it omits material information.” Fogarazzao v. Lehman Bros., 232

 F.R.D. 176, 186 (S.D.N.Y. 2005). Having primarily alleged material omissions, reliance pursuant

 to Affiliated Ute may be presumed. See Kaplan v. S.A.C. Capital Advisors, L.P., 311 F.R.D. 373

 (S.D.N.Y. 2015).

                        c.      KPMG Fails to Demonstrate the Absence of Price Impact

        As the Supreme Court has held, to rebut the presumption of reliance, “it is incumbent upon

 [KPMG] to show the absence of price impact” – i.e. that the alleged misrepresentations and

 corrective disclosures did not affect the price of the relevant stock at all – by a preponderance of

 the evidence. Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 284 (2014) (emphasis

 added). See also Willis v. Big Lots, Inc., 242 F. Supp. 3d 634, 657 (S.D. Ohio 2017); Kasper, 2017

 WL 3008510, at *12; Burges v. Bancorpsouth, Inc., No. 14-cv-1564, 2017 WL 2772122, at *9

 (M.D. Tenn. June 26, 2017). “Merely pointing to other potential causes for a stock price change

 following a corrective disclosure is . . . not enough to rebut the Basic presumption.” City of Sterling

 Heights Gen. Emps.’ Ret. Sys. v. Prudential Fin., Inc., No. 12-cv-5275, 2015 WL 5097883, at *13

 (D.N.J. Aug. 31, 2015). “Because Defendants have the burden of showing an absence of price

 impact, they must show that price impact is inconsistent with the results of their analysis. Thus,

 that an absence of price impact is consistent with [Defendants’] analysis is insufficient.” Ohio Pub.

 Employees Ret. Sys. v. Fed. Home Loan Mortg. Corp., No. 08-cv-160, 2018 WL 3861840, at *13

 (N.D. Ohio Aug. 14, 2018) (emphasis in original). As such, “in practice, the so-called ‘rebuttable

 presumption’ is largely irrebuttable.” Halliburton, 573 U.S. at 296. See also Strougo v. Barclays

 PLC, 312 F.R.D. 307, 324 (S.D.N.Y. 2016) (a price-impact challenge “will not ordinarily present

 a serious obstacle to class certification” and “the vast majority of courts have found that defendants
                                                   10

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 have failed to meet their burden of proving lack of price impact.”); Aranaz v. Catalyst Pharm.

 Partners Inc., 302 F.R.D. 657, 673 (S.D. Fla. 2014) (describing the burden of proving the absence

 of price impact as “daunting[.]”). KPMG has not – and cannot – meet its burden.

        KPMG’s price-impact challenge fails in two key respects. First, KPMG focuses exclusively

 on price impact at the time of the misrepresentations and ignores price impact at the time of the

 corrective disclosures.12 This distorts the relevant legal standard: “price impact is demonstrated

 either through evidence that a stock’s price rose in a statistically significant manner after a

 misrepresentation or that it declined in a statistically significant manner after a corrective

 disclosure.” Willis, 242 F. Supp. 3d at 657 (citing Halliburton Co. v. Erica P. John Fund, Inc., 573

 U.S. 258, 284 (2014)) (emphasis added); Burges, 2017 WL 2772122, at *9 (“[t]o successfully

 rebut the fraud-on-the-market presumption . . . a defendant cannot simply show that a price did not

 rise after a misrepresentation.”); Kasper v. AAC Holdings, Inc., No. 3:15-cv-00923-JPM-JSF, 2017

 WL 3008510, at *12 (M.D. Tenn. July 14, 2017), leave to appeal denied, In re AAC Holdings,

 Inc., No. 17-0509, 2017 WL 4801185 (6th Cir. Oct. 24, 2017) (“Price impact can be shown either

 by an increase in price following a fraudulent public statement or a decrease in price following a

 revelation of the fraud.”) (emphasis added). Indeed, KPMG’s expert implicitly acknowledges as

 much: “One way to show that there was a potential price impact is to show that the price of a

 company’s securities increased in response to the alleged misrepresentations.” Attari Report at

 ¶ 214 (emphasis added).




 12
    KPMG asserts that “[w]here the evidence shows that the alleged misrepresentations did not
 result in an increase in the prices of the securities in question, the presumption of reliance has been
 rebutted.” Opp’n at 9.


                                                   11

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         Second, KPMG offers no evidence whatsoever of a lack of price impact. Instead, while

 Plaintiffs allege that the stock price fell in response to numerous corrective disclosures (see Compl.

 ¶¶ 197-236),13 Attari’s report entirely fails to address the price impact of the corrective disclosures,

 much less establish that all of the corrective disclosures had no impact on the price of Miller

 Energy Securities.14 Indeed, Attari concedes that he did not conduct a negative causation analysis

 and has no opinion regarding whether Miller Energy’s share price fell in response to the alleged

 corrective disclosures. See Attari Dep. 114:7-10.15 That alone is enough to reject KPMG’s attempt

 to rebut the presumption of reliance.16

        But there is more. KPMG acknowledges that its first false and misleading audit report

 preceded a statistically significant increase of nearly 60% in the share price. See Opp’n at 11-12;

 Attari Report. ¶¶ 217(d); Attari Dep. 159:22-161:7. And while KPMG questions whether that

 misstatement alone caused the share price to rise, it does not argue, much less meet its burden of

 establishing, that it did not cause at least some of the price increase. Indeed, Attari has no opinion

 about what caused the price increase on that day. See Attari Dep. 161:18-21; 169:11-16. Merely


 13
    See also Memorandum Opinion and Order of August 2, 2018 (“MTD Order”), ECF No. 76
 (finding that “[b]ased on the second amended complaint, plaintiffs have shown a causal link
 between the loss and the alleged misrepresentation. . . . Plaintiffs have provided detailed
 allegations of loss, and they have clearly asserted that this loss was a direct result of disclosures
 regarding Miller Energy’s operating loss and questionable cost figures.”).
 14
   KPMG attempts to make much of the fact that the stock price did not drop following just two
 dates discussed in the Complaint – namely, the December 10, 2014 and March 12, 2015
 announcements of impairment charges on the Alaska Assets. See Opp’n at 13-14. But this fails to
 meet KPMG’s burden, since KPMG only purports to challenge price impact on two dates, not on
 the 14 disclosures in the Complaint alleged to have caused Miller Energy Securities to fall.
 15
   Notably, although not the subject of his report, Attari has calculated the damages suffered by
 investors in this action, thereby conceding price impact. See Attari Dep. 11:19-12:7.
 16
     KPMG’s arguments about Martin and Weakley’s trading patterns (Opp’n at 13-14) are
 irrelevant, as they are not moving to be appointed as class representatives. Furthermore, their
 trading does nothing to demonstrate the absence of price impact.


                                                   12

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 pointing to other potential causes of an increase in the share price is a far cry from demonstrating

 the absence of price impact.17

        Further, though it is not Plaintiffs’ burden, Coffman demonstrated that KPMG’s first audit

 report did cause significant inflation in the prices of Miller Energy Securities. See Coffman

 Opening Report ¶¶ vi-xiii.; Coffman Rebuttal Report ¶¶ 58-60. Moreover, despite KPMG’s claim

 that other news on that day may have also caused some of the price inflation, Attari concedes that

 the only other new information disclosed on that day either would have caused the stock price to

 decrease (the change regarding Miller Energy’s credit agreement) or was related to KPMG’s false

 and misleading audit report (the finding that there was nothing nefarious about Miller Energy’s

 premature filing of its Form 10-K without KPMG’s sign off a few weeks earlier). Attari Dep.

 161:22-168:17.18 Accordingly, KPMG has not rebutted the presumption of reliance.

                        d.        KPMG’s Fraud Was Not Known by Investors Prior to the End
                                  of the Class Period

        Even though KPMG continued to sign off on Miller Energy’s financial statements

 throughout the Class Period, reassuring investors that the valuation of the Alaska Assets was

 accurate, and even though there was no public indication that KPMG acted improperly until after

 the Class Period, KPMG argues that because certain hypothetical investors may have known the




 17
   While KPMG attempts to cast doubt on the viability of the price-maintenance theory in the Sixth
 Circuit (Opp’n 9 n.5), it neglects to mention that the case it relies on endorses the price-
 maintenance theory. See Willis, 242 F. Supp. 3d at 658 (“This Court agrees with the reasoning of
 those courts that have recognized the price maintenance theory of price impact.”); see also Burges,
 2017 WL 2772122, at *9 (“the fact that there was no stock price increase when the statements
 were made does not suggest a lack of price impact.”); Carpenters Pension Tr. Fund of St. Louis v.
 Barclays PLC, 310 F.R.D. 69, 86-87 (S.D.N.Y. 2015) (“[A] material misstatement can impact a
 stock’s value      . . .by improperly maintaining the existing stock price.”).
 18
   Indeed, the results of the internal investigation were so inconsequential many analysts did not
 even discuss it. See, e.g., Attari Report, Ex. 80.

                                                 13

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 truth of the fraud and KPMG’s role in it prior to the end of the Class Period, the statute of

 limitations has run and common issues do not predominate. Opp’n at 20-23. They are wrong.

         First, as the Sixth Circuit has held, “an affirmative defense, standing alone, does not compel

 a finding that common liability issues do not predominate.” In re HCA Holdings, Inc., No. 14-cv-

 511, 2015 WL 10575861, at *2 (6th Cir. Feb. 26, 2015). Indeed, courts regularly hold that a statute-

 of-limitations defense based on public information does not defeat predominance because it is

 subject to generalized proof. See, e.g.., N.J. Carpenters Health Fund v. Royal Bank of Scotland Grp.,

 PLC, No. 08-cv-5310, 2016 WL 7409840, at *8 (S.D.N.Y. Nov. 4, 2016) (defendants “rely on news

 reports and other publicly available information, none of which suggests that any putative class

 member had unique knowledge as to the alleged misstatements . . . .To the extent those news reports

 are relevant to a statute of limitations or knowledge, they are subject to generalized proof and thus do

 not militate against the certification of a class.”); Tsereteli v. Residential Asset Securitization Tr.

 2006-A8, 283 F.R.D. 199, 214 (S.D.N.Y. 2012) (defendant “has not provided sufficient evidence that

 any class member had actual knowledge of the allegedly false or misleading statements . . . . or that

 they later were on notice of such statements sufficient to raise individualized statute of limitations

 issues.”).

         Second, even if such a defense were sufficient to defeat predominance – which it is not –

 there is no evidence that investors were put on notice of KPMG’s fraud prior to the end of the

 Class Period. See Pls.’ Opp’n to Def’s. Mot. to Dismiss, at 39; 40 n. 35, ECF No. 68. While KPMG

 notes that Mr. Cosby knew about the premature filing of Miller Energy’s Form 10-K in 2011

 (Opp’n at 23), such knowledge revealed nothing about KPMG’s fraud to Mr. Cosby, or any other

 Miller Energy investor. More to the point, and as KPMG acknowledges, each of the Proposed

 Representatives testified that they were not aware of KPMG’s wrongdoing (or even Miller



                                                   14

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 Energy’s wrongdoing), prior to the end of the Class Period. Opp’n at 26, n. 27.19 This makes sense

 given that until the SEC implicated the auditors in Miller Energy’s fraud after the end of the Class

 Period, investors had no reason to believe that KPMG had engaged in any wrongdoing and could

 not have sufficiently pled a claim against KPMG. KPMG admits as much when arguing (wrongly)

 that Mr. Cosby is atypical because he sold after only some of the partial disclosures of the fraud:

 “But Plaintiffs allege only three events and disclosures during that period of time, none of which

 disclosed anything about KPMG, and so none can be viewed as a corrective disclosure.” Opp’n

 at 24-25 (emphasis added).

        Notably, this argument was already raised by KPMG and rejected by this Court at the

 motion-to-dismiss stage. As the Court held, KPMG has “failed to show that the statute of limitation

 had clearly run prior to plaintiffs’ filing their initial complaint. . . . Even if plaintiffs were aware

 of the previous lawsuits, these lawsuits are not enough to conclude at this point in the proceedings

 that the statute of limitation period was triggered. MTD Order, at 17-18. The same argument was

 also considered and rejected by this Court in the Gaynor Action at class certification: “The Court

 finds Defendants’ affirmative defense of knowledge does not defeat class certification. With

 respect to the publicly available news articles, the Court finds this insufficient to show that certain

 class members had differing levels of knowledge regarding the alleged misleading statements or

 omissions.” See Gaynor R&R at 34; see also id. at 33-37 (explaining that the same reasoning

 applies to the defendants’ statute-of-limitations argument). Thus, common issues predominate.



 19
    KPMG speculates that Mr. Martin may have had unique knowledge about certain of Miller
 Energy’s officers. See Opp’n at 23. But this does not come close to demonstrating that Mr. Martin
 had actual or constructive knowledge of Miller Energy’s fraud, or KPMG’s role in it. Furthermore,
 Mr. Martin is not a proposed Class Representative, so his knowledge is irrelevant to class
 certification.


                                                   15

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                        e.      Damages for the 10(b) Class Can Be Calculated on a Classwide
                                Basis

        Plaintiffs need not demonstrate that damages are capable of measurement on a classwide

 basis at class certification.20 Indeed, as numerous courts have explained, “while Comcast addresses

 class action certification, it was not in regard to a securities fraud litigation, which have generally

 been certified for class status. Instead, Comcast addresses antitrust litigation.” In re Heckmann

 Corp. Sec. Litig., No. 10-cv-378, 2013 WL 2456104, at *14 (D. Del. June 6, 2013).21 Nonetheless,

 Plaintiffs demonstrate that damages for the Section 10(b) Class can be calculated on a classwide

 basis by utilizing the well-settled, out-of-pocket methodology that is regularly utilized and

 approved in similar cases. See Coffman Opening Report at ¶¶ 73-74; Coffman Rebuttal Report at

 ¶¶ 47-50; Rowe v. Marietta Corp., 172 F.3d 49 (6th Cir. 1999) (“The out-of-pocket measure is the

 favored method of computing damages in a securities fraud case.”); Willis, 242 F. Supp. 3d at 652

 (employing out-of-pocket damages calculation method in a § 10(b) case); In re Bridgestone Sec.




 20
   See, e.g., In re Whirlpool Corp. Front-Loading Washer Prods. Liab. Litig., 722 F.3d 838, 860
 (6th Cir. 2013); Neale v. Volvo Cars of N. Am., LLC, 794 F.3d 353, 375 (3d. Cir. 2015) (it is “a
 misreading of Comcast” to interpret it as “preclud[ing] certification under Rule 23(b)(3) in any
 case where the class members’ damages are not susceptible to a formula for classwide
 measurement.”); Roach v. T.L. Cannon Corp., 778 F.3d 401, 402 (2d Cir. 2015) (“Comcast does
 not mandate that certification . . . requires a finding that damages are capable of measurement on
 a classwide basis.”); In re Urethane Antitrust Litig., 768 F.3d 1245, 1257-58 (10th Cir. 2014)
 (“Comcast did not rest on the ability to measure damages on a class-wide basis.”); In re Deepwater
 Horizon, 739 F.3d 790, 815 (5th Cir. 2014); In re Nexium Antitrust Litig., 777 F.3d 9, 21 (1st Cir.
 2015); Butler v. Sears, Roebuck & Co., 727 F.3d 796, 801 (7th Cir. 2013).
 21
    KPMG disputes Plaintiffs’ reliance on In re Whirlpool Corporation Front-Loading Washer
 Products Liability Litigation, 722 F.3d 838, 860 (6th Cir. 2013), attempting to dismiss it as an
 irrelevant products-liability case. Yet In re Whirlpool squarely holds that plaintiffs are not required
 to show that damages are capable of measurement on a classwide basis to show predominance.
 See id. (“[w]hen adjudication of questions of liability common to the class will achieve economies
 of time and expense, the predominance standard is generally satisfied even if damages are not
 provable in the aggregate.”).


                                                   16

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 Litig., 430 F. Supp. 2d 728, 738 (M.D. Tenn. 2006) (same).22 Indeed, courts continue to

 consistently rely on the out-of-pocket methodology in certifying securities class actions following

 Comcast v. Behrend, 569 U.S. 27 (2013). See In re St. Jude Med. Inc. Sec. Litig., No. 10-cv-0851,

 2014 WL 6908434, at *6-9 (D. Minn. Dec. 8, 2014) (collecting cases).

        In response, KPMG asserts that “individual issues of damages will overwhelm common

 issues.” Opp’n at 16. KPMG is wrong. Crucially, KPMG is unable to point to a single securities-

 fraud decision where a class invoking the “out-of-pocket” method was not certified, and Plaintiffs

 are unaware of any such case. In fact, in the lone, out-of-Circuit securities case KPMG cites, the

 court certified a class of investors who advanced the same out-of-pocket damages methodology,

 and used the same expert, as Plaintiffs here. See In re BP P.L.C. Sec. Litig., No. 10-md-2185, 2014

 WL 2112823, at *12-13 (S.D. Tex. May 20, 2014) (“BP”); see also Coffman Rebuttal Report ¶

 49. While KPMG argues that Plaintiffs’ “out-of-pocket” approach is not consistent with their

 theory of liability, BP held precisely the opposite, explaining that “the out-of-pocket measure of

 damages employed in most securities fraud cases is particularly consonant with the fraud-on-the-

 market theory.” Id. at *13 n.14 (emphasis added).

        Undeterred, KPMG attempts a sleight of hand, premising its entire argument on the “pre-

 spill” subclass in BP. Opp’n at 19-20. But the pre-spill subclass sought to recover consequential

 damages related to the post-spill stock price decline. BP at *8. In so doing, the pre-spill subclass

 “expressly eschew[ed]” the traditional out-of-pocket damages calculation method advanced by

 Plaintiffs here. Id. at *11; see also Coffman Rebuttal Report ¶ 49. Thus, KPMG’s sole authority


 22
    Attari concedes that Coffman proposes an out-of-pocket damages theory. See Attari Dep.
 100:17-24. Further, Attari admits that if his “understanding,” based entirely on instruction from
 KPMG’s counsel, that Plaintiffs need to separate high- and low-risk investors to demonstrate that
 damages can be calculated on a classwide basis is wrong, that he has no further criticism of
 Plaintiffs’ damages theory. See id. at 99:23-100:16.

                                                 17

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 that the out-of-pocket damages method is improper in this case is the denial of certification to a

 subclass that did not use the out-of-pocket damages method and sought consequential damages.

 See id. For these reasons alone, KPMG’s attempt to marshal BP as authority fails.

        Seizing on the fact that the BP pre-spill subclass employed a materialization-of-the-risk

 theory, KPMG then attempts to stretch the denial of certification as to that subclass into a rule that

 every case that invokes materialization-of-the-risk must provide a damages model that

 distinguishes between high-risk and low-risk investors. Opp’n at 18-20. This is demonstrably

 wrong. Indeed, there are dozens, if not hundreds, of cases where the standard out-of-pocket

 methodology – without separating high risk and low risk investors – is used for cases alleging a

 materialization-of-the-risk theory. See, e.g., In re Barrick Gold Sec. Litig., 314 F.R.D. 91

 (S.D.N.Y. 2016) (certifying a class of investors in a materialization-of-the-risk case where

 Coffman conducted a standard out-of-pocket damages analysis without separating high risk and

 low risk investors); Grae v. Corr. Corp. of Am., No. 16-cv-2267, 2019 WL 1399600, at *2 (M.D.

 Tenn. Mar. 26, 2019) (certifying a class of investors in a materialization-of-the-risk case with a

 standard out-of-pocket damages analysis without separating high-risk and low-risk investors).23

        In re Barrick Gold Securities Litigation, 314 F.R.D. 91 (S.D.N.Y. 2016)—a case with

 strikingly similar facts to those here in which Coffman also served as the plaintiffs’ expert—



 23
   See also Strougo v. Barclays PLC, 312 F.R.D. 307, 325 (S.D.N.Y. 2016) (certifying a class of
 investors in a materialization-of-the-risk case with a standard out-of-pocket damages analysis
 without separating high risk and low risk investors); Billhofer v. Flamel Techs., S.A., 281 F.R.D.
 150, 164 (S.D.N.Y. 2012) (same); In re Sadia, S.A. Sec. Litig., 269 F.R.D. 298, 321 (S.D.N.Y.
 2010) (same); Fogarazzo v. Lehman Bros., 263 F.R.D. 90, 110 (S.D.N.Y. 2009) (same); In re
 Alstom SA Sec. Litig., 253 F.R.D. 266, 281 (S.D.N.Y. 2008) (same); Wagner v. Barrick Gold
 Corp., 251 F.R.D. 112, 119 (S.D.N.Y. 2008) (same); In re Vivendi Universal, S.A., 242 F.R.D. 76,
 79 (S.D.N.Y. 2007) (same); Rooney v. EZCORP, Inc., No. 15-cv-608-SS, 2019 WL 691205, at *9
 (W.D. Tex. Feb. 19, 2019) (same, with Coffman as class certification expert); Mauss v. NuVasive,
 Inc., No. 13-cv-2005, 2017 WL 1080654, at *4 (S.D. Cal. Mar. 22, 2017) (same).

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 illustrates the point. As here, the plaintiffs in In re Barrick brought a Section 10(b) claim on a

 materialization-of-the-risk theory. See 314 F.R.D. at 103-04. The defendants argued that the

 plaintiffs’ use of an out-of-pocket damages calculation would cause individualized damages issues

 to predominate. See id. The Court noted that: “Defendants’ reasoning depends on two incorrect

 assumptions about plaintiffs’ theories of damages and loss causation: (1) that plaintiffs seek

 consequential damages and (2) that plaintiffs’ claims are limited to materialization of the risk.” Id.

 at 105. Rejecting the defendants’ damages argument, the Court held that: “plaintiffs’ actual theory

 of damages (out-of-pocket damages) is entirely consistent with their theory of Section 10(b)

 liability and would be measurable on a class-wide basis. . . . [as] evidenced by the fact that

 securities class actions routinely seek out-of-pocket damages for fraudulent misrepresentations.”

 Id. at 105-06.

        Classwide damages do not predominate over individual damage issues.

                  2.     The Proposed Representatives are Typical

        KPMG does not dispute that the Proposed Representatives allege that they purchased

 Miller Energy Securities at prices artificially inflated by fraud and that their claims are based on the

 same legal theories and facts. Typicality requires nothing more. See, e.g., Rikos v. P&G, No. 11-cv-

 226, 2014 WL 11370455, at *8 (S.D. Ohio June 19, 2014), aff’d, 799 F.3d 497 (6th Cir. 2015);

 Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc., No. 09-cv-882, 2012 WL 1071281, at *37

 (M.D. Tenn. Mar. 29, 2012).

        Nevertheless, KPMG asserts that Mr. Cosby is atypical because of the “the timing of his

 purchase[s].” Opp’n at 24. This argument is a nonstarter. “Differences in the timing of stock

 purchases by class representatives do not make their claims atypical if plaintiffs allege a common

 scheme of misrepresentation.” Ross v. Abercrombie & Fitch Co., 257 F.R.D. 435, 445 (S.D. Ohio

 2009); Bovee v. Coopers & Lybrand, 216 F.R.D. 596, 610 (S.D. Ohio 2003) (“When a named
                                                   19

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 plaintiff alleges a common course of conduct in a securities class action, the fact that he purchased

 stock late in the class period does not vitiate his suitability as a class representative.”). Indeed,

         [d]efendants in securities class actions have often argued that a plaintiff's claim
         cannot be typical of the claims of class members who purchased at different times
         in reliance on different documents. It is now settled, however, that the claims of
         such a plaintiff are typical of the claims of the class if all the documents relied upon
         are part of a common course of conduct or common scheme to defraud.

 Ross, 257 F.R.D. at 445 (quoting 7 Newberg on Class Actions § 22.26 (4th ed. 2002)).24 Thus, Mr.

 Cosby is typical.25

         KPMG also attempts to paint Messrs. Ziesman and Montague as atypical because they did

 not read KPMG’s audit reports prior to investing. Curiously, KPMG does not contest that Messrs.

 Ziesman and Montague relied on KPMG’s misstatements, but instead asserts that their reliance

 was somehow “not justifiable.” Opp’n at 25-26 (emphasis in original). Crucially, in so arguing,

 KPMG concedes Messrs. Ziesman and Montague’s reliance. This is consistent with the well-

 established principle that to “rely on a misstatement in the sense relevant for the Basic

 presumption, [an investor] need only trade stock based on the belief that the market price will

 incorporate public information within a reasonable period.” Halliburton, 573 U.S. at 273. KPMG

 has not rebutted the presumption of reliance, and Plaintiffs need not show more at this stage of the




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    KPMG’s authority does not show otherwise. For example, Rocco v. Nam Tai Electronics, Inc.,
 245 F.R.D. 131, 136 (S.D.N.Y. 2007) is readily distinguishable from this case, as it involved post-
 class period purchases designed to capitalize on uncorrected and ongoing fraud.
 25
    Mr. Montague undisputedly held through the end of the Class Period. Mr. Cosby sold his shares
 after certain of the alleged corrective disclosures, which need not explicitly refer to KPMG to be
 sufficient for loss-causation purposes. Such disclosures must only reflect part of the “relevant
 truth” concealed by KPMG’s misconduct. See, e.g., Winslow v. BancorpSouth, Inc., 2011 WL
 7090820, at *12, report and recommendation approved, No. 3:10-cv-00463, 2012 WL 214635
 (M.D. Tenn. Jan. 24, 2012) (“[T]o establish loss causation the disclosed information must reflect
 part of the “relevant truth”—the truth obscured by the fraudulent statement.”).


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 litigation. See id. 26

         Moreover, whether Messrs. Ziesman and Montague’s reliance was somehow not

 “justifiable” goes to the merits and is improper at class certification. See Bovee, 216 F.R.D. at 611

 (“even if [defendants] can prove non-reliance as an affirmative defense, this goes to the merits of

 the case and cannot be considered by the court on a certification motion.”).27 Accordingly, each of

 the Proposed Representatives are typical of the Section 10(b) Class.

         B.       The Section 11 Class Should Be Certified

                  1.      The Section 11 Class Is Numerous

         As set forth in the Motion, “[n]umerosity is generally assumed to have been met in class

 action suits involving nationally traded securities.” Gaynor R&R at 16 (quoting Burges, 2017 WL

 2772122, at *2); Ross, 257 F.R.D. at 442 (collecting cases); In re Accredo Health, Inc. Sec. Litig.,

 No. 03-cv-2216, 2006 WL 1716910, at *5 (W.D. Tenn. Apr. 19, 2006). To meet this element, “the

 exact number of class members need not be pleaded or proved.” Willis, 242 F. Supp. 3d at 644

 (quoting McGee v. East Ohio Gas Co., 200 F.R.D. 382, 389 (S.D. Ohio 2001)).28

         KPMG asserts that Plaintiffs “offer no evidence of” numerosity. Opp’n at 28. To the

 contrary; Plaintiffs point both to the millions of shares sold in the Offerings and to the high average




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    The Proposed Representatives testified that they relied on the price of the stock and had no
 reason to assume that the price was incorrect or that KPMG had engaged in fraud. See Cosby Dep.
 96:4-13, 139:17-22, 251:21-25; Ziesman Dep. 43:6-13, 67:23-68:4, 82:16-20; Montague Dep.
 108:20-23, 114:9-13. The Proposed Representatives’ deposition transcripts are Exhibits C, D, and
 E, respectively, to the accompanying Declaration of Gordon Ball.
 27
   Atari Corp. v. Ernst & Whinney, 981 F.2d 1025, 1030 (9th Cir. 1992) is not a class action, and
 as such, KPMG’s attempt to invoke it here is specious.
 28
   Numerosity is presumed when the Class consists of just 40-50 individuals. See, e.g., Taylor v.
 CSX Transp., Inc., 264 F.R.D. 281, 288 (N.D. Ohio 2007); Kelly v. Montgomery Lynch & Assocs.,
 Inc., No. 07–cv–919, 2007 WL 4562913, at *3 (N.D. Ohio Dec. 19, 2007).


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 weekly turnover as a percentage of preferred shares outstanding as strong evidence that there are

 at least thousands of people in the Section 11 Class. Mot. at 12; Coffman Opening Report ¶ 30.

 KPMG’s rebuttal that more frequent turnover translates to a reduced likelihood that purchasers can

 trace their shares to the relevant offerings is merely a tracing argument masquerading as a

 numerosity argument.29 As demonstrated infra at § II.B.2, tracing is not a bar to class certification.

        Moreover, in the Gaynor Action, this Court found that the plaintiffs established numerosity

 “based on the number of Series C and Series D shares that were purchased (6.21 milion)[.]” Gaynor

 R&R at 16.30 KPMG’s failure to address the very argument that this Court found decisive in the

 Gaynor Action is conspicuous. And KPMG offers no valid reason for this Court to reverse itself

 in this case. The Section 11 Class is numerous.

                2.      Mr. Ziesman is Typical

        KPMG argues that Mr. Ziesman is not typical because he cannot trace his Series C

 purchases to a specific offering at this time. See Opp’n at 27. This is incorrect. Courts nationwide

 hold that tracing arguments are not a bar to class certification in Section 11 cases. See In re Direct

 Gen. Corp., No. 05-cv-77, 2006 WL 2265472, at *3 (M.D. Tenn. Aug. 8, 2006) (holding that

 traceability arguments are “more properly suited to a motion for summary judgment” and that “the

 common question of whether the registration statements were materially misleading predominates

 over any secondary tracing issues that might be encountered later in the litigation.”); In re Prison



 29
   KPMG contends that the high average weekly turnover makes it difficult to know how many
 people were injured (Opp’n at 28), but that is not the relevant standard. Plaintiffs need not show
 how many people were damaged to certify a class, only how many people may be part of the
 Section 11 Class.
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   See also Schuh v. HCA Holdings, Inc., No. 11-cv-1033, 2014 WL 4716231, at *13 (M.D. Tenn.
 Sept. 22, 2014) (holding that plaintiffs established numerosity because the “case involves the sale
 of millions of stock, and Plaintiff estimates that the number of purchasers is likely to be ‘in the
 thousands’ and that those purchasers reside in many states”).

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 Realty Sec. Litig., 117 F. Supp. 2d 681, 690-91 (M.D. Tenn. 2000) (“[A] § 11 cause of action can

 be brought by anyone who purchased stock under a registration statement, regardless of when the

 purchase was made.”); Wallace v. Intralinks, 302 F.R.D. 310, 319 (S.D.N.Y. 2014) (“[T]racing is

 a merits issue that the court need not consider at the class certification stage.”); In re Schering-

 Plough Corp./ENHANCE Sec. Litig., No. 8-cv-397, 2012 WL 4482032, at *11 (D.N.J. Sept 25,

 2012) (“[Traceability] is a fact issue more appropriately addressed a later stage in the litigation.”);

 Mot. at 15-16, n. 13 (collecting cases).31

           Indeed, under KPMG’s logic, tracing questions would preclude certification of every

 Section 11 claim involving a secondary offering or secondary market purchasers. This is not the

 law, as evinced by the fact that Section 11 classes, including secondary market purchasers, are

 routinely certified. See In re Direct Gen. Corp., 2006 WL 2265472, at *3; In re Prison Realty Sec.

 Litig., 117 F. Supp. 2d at 690-91; Wallace, 302 F.R.D. at 319; In re Schering-Plough

 Corp./ENHANCE Sec. Litig., 2012 WL 4482032, at *36; Freeland v. Iridium World Commc’ns,

 Ltd., 233 F.R.D. 40, 45-46 (D.D.C. 2006); United Food and Commercial Workers Union v.

 Chesapeake Energy, 281 F.R.D. 641, 647 (W.D. Okla. 2012); In re Colbalt Int’l Energy, Inc., Sec.

 Litig., No. 14-cv-3428, 2017 WL 2608243, at *5 (S.D. Tex. June 15, 2017); Beaver Cty. Emps.’

 Ret. Fund v. Tile Shop Holdings, Inc., No. 14-cv-786, 2016 WL 4098741, at *13 (D. Minn. July

 28, 2016); In re Smart Tech., Inc. S’holder Litig., 295 F.R.D. 50, 61-62 (S.D.N.Y. 2013).

           Moreover, this Court so found in the Gaynor Action. See Gaynor R&R at 20-21 (rejecting

 argument that typicality was not met because a proposed class representative could not trace his

 shares back to the relevant offerings). As this Court explained:

           At the heart of Plaintiffs’ claim is that the Registration Statement contained
           misstatements and/or omissions of material fact – the over valuation of the Alaska

 31
      See also Gaynor R&R at 14 (collecting cases).

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         Assets. This issue will predominate over any secondary issues with respect to
         tracing. . . . The Court has also considered Defendants’ argument that aftermarket
         purchasers cannot establish that they purchased Series C shares that are not
         precluded by the statute of repose. . . . the Court does not find that they will
         predominate over the main issue involving the Registration Statement.

 Id. at 31-32.

         KPMG’s argument reflects a fundamental misunderstanding of the class action

 mechanism. Under the proposed class definition, the Section 11 Class is limited to persons who

 can trace their shares to the offerings. The ultimate question of membership in the Class will be

 resolved upon settlement or a judgment holding KPMG liable. At that time, putative class members

 will be required to submit proof that they belong to the class as part of a claims-administration

 process. Accepting KPMG’s tracing arguments would transform a routine element of class action

 practice into an outright bar to class certification.

         Lastly, KPMG claims that Mr. Ziesman is subject to a statutory exception that requires him

 to prove reliance. See Opp’n at 28 (citing 15 U.S.C. § 77k(a)(5)). Specifically, KPMG asserts that

 “[b]ecause Mr. Ziesman purchased his Series C shares on June 4, 2014, after Miller Energy had

 issued earnings statements covering a period of twelve months after the effective date, he must

 prove reliance, and his claim is not typical.” Id. This is incorrect. In re WorldCom, Inc. Sec.

 Litigation, 219 F.R.D. 267, 294-95 (S.D.N.Y. 2003) is directly on point. As the WorldCom court

 explained, “the ‘earning statement’ that triggers the requirement of proof of reliance . . . may not

 contain material omissions. . . . [and] must include the requisite material disclosures and be

 prepared in accordance with generally accepted accounting principles.” Id. at 289. Here, there is

 no question that each of Miller Energy’s earnings statements were false and misleading when

 made, and that they were not prepared in accordance with GAAP. See Compl. ¶¶ 194-96, 233.




                                                    24

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 Indeed, the SEC found, and KPMG admitted, as much. See id. ¶ 195. Accordingly, the statutory

 exception is not applicable here.32

         The Proposed Representatives’ claims are typical of the Section 11 Class.

                3.      The Proposed Representatives Are Adequate

        KPMG does not dispute that Messrs. Cosby, Montague and Ziesman are more than

 adequately fulfilling their obligations to the Classes, including communicating with and

 overseeing counsel, acting in the best interests of the Classes, and vigorously prosecuting this case.

 It is beyond dispute that Messrs. Cosby, Montague, and Ziesman understand what the case is about,

 the stage of the litigation, their obligations to the Classes and the arguments that are at issue in the

 litigation. They each regularly speak to their counsel and each other about the case, review

 pleadings, and in the case of Mr. Cosby, have reviewed nearly all the documents produced by

 KPMG to date in this matter. Two of the proposed Class Representatives – Messrs. Cosby and

 Montague – are CPAs, and as such, have a well-developed understanding of the accounting rules

 and obligations at issue.33 As a result, KPMG resorts to claiming that the Proposed Representatives




 32
    KPMG also argues that this inapplicable statutory exception demonstrates that common issues
 do not predominate. Opp’n at 30. For the same reasons, this argument can be easily rejected. Even
 if the statutory exception were relevant – which it is not – as discussed supra at § II.B.2, since the
 market for the Preferred Securities was efficient, Plaintiffs have established reliance.
 33
    See Ziesman Dep. 26:4-9; Montague Dep. 100:8-12; Cosby Dep. 71:12 (reflecting that the
 Proposed Representatives are appropriately communicating with and overseeing counsel);
 Ziesman Dep. 20:7-8; Montague Dep. 10:22-11:2; Cosby Dep. 237:12-14; 239:11-14 (reflecting
 that the Proposed Representatives understand what is at issue in this litigation); Ziesman Dep.
 22:22-23:13; Montague Dep. 100:16-20; Cosby Dep. 177:20-24 (reflecting that the Proposed
 Representatives are dedicated to achieving the best possible result for the Classes); Cosby Dep.
 40:22-41:9 (reflecting that Mr. Cosby has reviewed almost all of the documents produced by
 KPMG); Cosby Dep. 8:18-25; Montague Dep. 12:11-21 (reflecting that Messrs. Cosby and
 Montague are CPAs); see also Joint Decl. of Lewis Cosby, Eric Montague, and Martin Ziesman
 (“Joint Declaration of Proposed Representatives”), ECF No. 107-1.


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 are inadequate because they purportedly do not have standing to represent the Section 11 Class.

 KPMG’s argument depends on a mischaracterization of the facts and the relevant legal standard.

        First, Mr. Ziesman is not “the one and only proposed class representative for the [Section

 11] claim.” Opp’n at 32. Mr. Cosby also seeks to represent the Section 11 Class, and he applied

 for and was appointed a Lead Plaintiff in this action. See Compl. ¶¶ 14-16; Order of February 17,

 2017, ECF No. 31.34 There can be no question that Mr. Cosby can adequately represent the interests

 of the Section 11 Class. Class representatives need not have purchased a specific security to

 represent the interests of purchasers of that security. This is because, “in a putative class action, a

 plaintiff has class standing if he plausibly alleges (1) that he personally has suffered some actual .

 . . injury as a result of the putatively illegal conduct of the defendant, and (2) that such conduct

 implicates the same set of concerns as the conduct alleged to have caused injury to other members

 of the putative class by the same defendants.” NECA-IBEW Health & Welfare Fund v. Goldman

 Sachs & Co., 693 F.3d 145, 162 (2d Cir. 2012).

        In re Eletrobras Sec. Litig., 245 F. Supp. 3d 450, 461 (S.D.N.Y. 2017), is instructive.

 There, the court held that the plaintiffs, who had only purchased American Depositary Shares

 (“ADS”), akin to common stock, could nevertheless bring claims on behalf of bondholders, despite

 not being bondholders themselves. Id. at 461 (“As purchasers of Eletrobras’s ADSs during the

 class period, the named plaintiffs have plausibly pleaded that they suffered some actual injury as

 a result of the allegedly material misrepresentations in Eletrobras’s annual reports, press releases,

 and public statements in a way that ‘was broadcast at the same time to all members of the public,




 34
   Mr. Montague similarly seeks to represent the Section 11 Class. Indeed, each of the Proposed
 Representatives seeks to represent both Classes. See Joint Decl. of Proposed Representatives.


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 prospective shareholders and prospective bondholders alike.’”) (quoting In re Winstar Commc’ns

 Sec. Litig., 290 F.R.D. 437, 452 (S.D.N.Y. 2013)).35

        The same is true here. All of the Proposed Representatives sustained losses because of the

 same alleged material misrepresentations and omissions contained and repeated in Miller Energy’s

 financial statements, KPMG’s audit opinions, the Registration Statement, and the Prospectus

 Supplements. Thus, the Proposed Representatives’ interests are coextensive with purchasers of

 each Miller Energy Security at issue in the case, and the Proposed Representatives have standing

 to represent both Classes.36

        Further, this Court has already held that whether Mr. Cosby has standing to represent the

 Section 11 Class is only appropriate for resolution “after . . . class certification has been raised by

 the parties or ruled on by this Court.” MTD Order at 27. Given that discovery is stayed, it would



 35
    See also, e.g., New Jersey Carpenters Health Fund v. Royal Bank of Scotland Grp., PLC, 709
 F.3d 109, 162-64 (2d Cir. 2013) (holding that where an issuer had issued multiple securities under
 the same shelf registration statement, a plaintiff who had invested in only some of those securities
 could bring claims based on securities in which it had not invested so long as all of the relevant
 claims implicated the same set of concerns.); In re Bear Stearns Mortg. Pass-Through Certificates
 Litig., 851 F.Supp.2d 746, 778 (S.D.N.Y.2012) (finding that a plaintiff need not further establish
 tranche standing to represent a class whose members invested in tranches in which the lead plaintiff
 did not invest); In re Am. Int’l Grp., Inc., 741 F.Supp.2d 511, 538 (S.D.N.Y. 2010) (holding that
 a named plaintiff can represent purchasers from offerings the named plaintiff did not purchase in
 when the plaintiffs “do not rely on the information furnished in the prospectus and pricing
 supplements unique to each of the . . . offerings but rather on the alleged material misstatements
 and omissions located in the common elements of the . . . different registration statements”); In re
 Citigroup Bond Litig., 723 F. Supp. 2d 568, 584-85 (S.D.N.Y. 2010) (holding that “where a
 plaintiff alleges untrue statements in the shelf registration statement or the documents incorporated
 therein—as opposed to an alleged untrue statement in a supplemental prospectus unique to a
 specific offering—then that plaintiff has standing to raise claims on behalf of all purchasers from
 the shelf”). As such, KPMG’s reliance on two outlying and out-of-date cases is misplaced. See
 Opp’n at 34 n.34 (citing In re Lehman Bros. Sec. & ERISA Litig., 584 F. Supp. 2d 485, 491
 (S.D.N.Y. 2010); In re Wells Fargo Mortg. Backed Certificates Litig., 712 F. Supp. 2d 958, 964
 (N.D. Cal. 2010)).
 36
   KPMG’s argument that the Proposed Representatives lack standing to represent Series D
 purchasers (Opp’n at 33-34) fails for the same reason.

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 be premature to resolve this issue before the parties have had the opportunity to develop the

 relevant factual record.

         Second, adding, withdrawing, and substituting class representatives is a customary feature

 of class action practice. See Phillips v. Ford Motor Co., 435 F.3d 785, 787 (7th Cir. 2006) (holding

 that “[s]ubstitution of unnamed class members for named plaintiffs who fall out of the case because

 of settlement or other reasons is a common and normally an unexceptionable (‘routine’) feature of

 class action litigation . . . in the federal courts[,]” and collecting cases). There is no reason that a

 newly added class representative, like Mr. Ziesman, cannot represent the Section 11 Class, even

 though he was not initially an appointed Lead Plaintiff. Further, contrary to KPMG’s assertion

 (Opp’n. at 27), Mr. Ziesman need not prove traceability at this stage to demonstrate that he is a

 member of the Section 11 Class, particularly when discovery has been stayed. See Coffman

 Rebuttal Report ¶¶ 51-55. It is enough that he purchased Series C Preferred Stock and held it

 through the end of the Class Period. See Certification of Martin Ziesman, ECF No. 101-2.

                 4.      Damages for the Section 11 Class Can Be Calculated on a Classwide
                         Basis

         KPMG erroneously contends that “[b]ecause Miller Energy issued the Series C and Series

 D preferred shares in more than one issuance at different initial offering prices, damages cannot

 be calculated accurately under the statutory formula without knowing which offering each

 investor’s shares came from.” Opp’n at 31. In so doing, KPMG offers yet another traceability

 argument, this time in the guise of a damages argument. Notably, KPMG fails to support this

 argument with a single case holding that the statutorily mandated damages formula under Section

 11 weighs against—much less precludes—certification. The question of whether a putative class

 member can prove traceability is susceptible to classwide determination. As the court explained in

 Wallace,


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        The Section 11 claims provide no reason to exclude aftermarket purchasers. To be
        sure, only those who can trace their shares to the allegedly misleading registration
        statement have standing in a Section 11 claim. But tracing is a merits issue that the
        court need not consider at the class certification stage.

 302 F.R.D. at 319. This Court reached the very same conclusion in the Gaynor Action. See Gaynor

 R&R at 32-33. According to KPMG’s contrary view, no Section 11 case could ever be certified, as

 the calculations under Section 77k cannot occur until the Class submits their proof of claims

 identifying the date of purchase(s) and sale and the price of each. This is not a credible position.

        Consistent with standard practice in Securities Act cases, Plaintiffs proffer the generally

 applicable methodology for measuring per-share damages—specifically, the statutory formula

 prescribed by Section 11:

            The suit authorized under subsection (a) may be to recover such damages as
            shall represent the difference between the amount paid for the security (not
            exceeding the price at which the security was offered to the public) and (1) the
            value thereof as of the time such suit was brought, or (2) the price at which such
            security shall have been disposed of in the market before suit, or (3) the price at
            which such security shall have been disposed of after suit but before judgment
            if such damages shall be less than the damages representing the difference
            between the amount paid for the security (not exceeding the price at which the
            security was offered to the public) and the value thereof as of the time such suit
            was brought.

 15 U.S.C. § 77k. The application of the statutory methodology—which amounts to simple

 arithmetic—does not create individualized issues that outweigh the common issues to be resolved

 on a unified basis on behalf of the Class. See Coffman Rebuttal Report ¶¶ 47-55.37 As this Court


 37
    See also In re Facebook, Inc., IPO Sec. and Derivative Litig., 312 F.R.D. 332, 350 (S.D.N.Y.
 2015) (Comcast does not bar certification . . . where Section 11(e) of the Securities Act provides
 a statutory formula for damages. . . . Because the statutory formula applies, the individual damages
 questions are sufficiently reduced that predominance of the common questions, answers, and facts
 remains.”); In re Oppenheimer Rochester Funds Grp. Sec. Litig., 318 F.R.D. 435, 447 (D. Colo.
 2015) (“[B]ecause Securities Act damages are calculated using a statutory formula, [t]he means of
 determining them therefore would be common to all class members”); New Jersey Carpenters
 Health Fund v. Residential Capital, LLC, No. 08-cv-5093, 2013 WL 6839093, at *5 (S.D.N.Y.
 Dec. 27, 2013) (holding that Comcast is “inapposite here, where damages reflect liability by


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 held in the Gaynor Action, the statutorily prescribed damages methodology is sufficient at class

 certification to establish that common questions of law and fact predominate over individualized

 issues. See Gaynor R&R at 32-33.

 III.   CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court grant their Motion.

  Dated: June 14, 2019                             Respectfully submitted,

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 statutory formula[]” and that “[S]ection 11(e) of the Securities Act sets out the proper method for
 calculating damages in this case.”).

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 14, 2019, I caused the foregoing to be filed using the Court’s

 CM/ECF System, which in turn sent notice to counsel of record.

  Dated: June 14, 2019                             /s/ Laura H. Posner
                                                   Laura H. Posner




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